
MEMORANDUM **
Earl Jones appeals pro se from the Bankruptcy Appellate Panel’s (“BAP”) judgment affirming the bankruptcy court’s orders concluding that adversary proceedings against Jones and others to avoid the postpetition recordation of deeds of trust were core matters. We have jurisdiction under 28 U.S.C. § 1291. We review BAP decisions de novo and apply the same standard that the BAP uses to review bankruptcy court decisions. Arrow Elecs., Inc. v. Justus (In re Kaypro), 218 F.3d 1070, 1073 (9th Cir.2000). The BAP reviews de novo the bankruptcy court’s subject matter jurisdiction. Vylene Enters., Inc. v. Naugles, Inc. (In re Vylene Enters., Inc.), 90 F.3d 1472, 1475 (9th Cir.1996). We affirm.
The BAP properly concluded that the bankruptcy court had jurisdiction to enter final orders and judgments in the adversary proceedings because the proceedings were core matters. See 28 U.S.C. § 157(b)(2)(E), (H), and (K) (defining core matters to include those that determine the validity, extent, or priority of liens; that determine, avoid or recover fraudulent conveyances; and actions to turn over property to the estate).
Jones did not appeal the bankruptcy court’s judgment in the adversary proceedings and we therefore lack jurisdiction to consider any contentions concerning its merits. See Fed. R.App. P. 4(a).
Jones’s remaining contentions are unpersuasive.
AFFIRMED.

 This disposition is not appropriate for publication and is not precedent except as provid*124ed by 9 th Cir. R. 36-3.

